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                           UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION

Susan Maria Welch Pierce, as Personal         )
Representative Of the Estate of               )
Donald E. Welch, deceased, and                )
Olga O. Welch,                                )
                                              )
                      Plaintiffs              )
                                              )
v.                                            )      SC: 2:08-CV-00588
                                              )
OWENS ILLINOIS, et al.                        )
                                              )
                      Defendants              )


                                      ORDER OF DISMISSAL

       THIS MATTER is before the Court upon motion by Plaintiff, Susan Maria Welch Pierce, as

Personal Representative of the Estate of Donald E. Welch, deceased and Plaintiff Olga O. Welch, to

dismiss General Electric Company with prejudice.

       It appears that good cause exists to permit Plaintiffs to so dismiss this action against

Defendant General Electric Company.

       It is therefore ORDERED, ADJUDGED, and DECREED that all claims of Plaintiffs

against General Electric Company are hereby DISMISSED WITH PREJUDICE.

       This 14th day of July, 2015.


                                                     _________________________
                                                     David C. Norton
                                                     United States District Court Judge
